      Case 1:18-cv-04438-JLR-BCM Document 512 Filed 08/16/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MORGAN ART FOUNDATION LIMITED,                                           08/16/2023
              Plaintiff,                                 18-CV-4438 (JLR) (BCM)
       -against-                                         ORDER
MICHAEL MCKENZIE,
              Defendant.

BARBARA MOSES, United States Magistrate Judge.

         The Hon. Jennifer L. Rochon, United States District Judge, has referred two newly-filed
motions to the undersigned Magistrate Judge. (Dkt. 510.) The first is a letter motion filed by
"Defendant James W. Brannan, Personal Representative of the Estate of Robert Indiana (the
'Estate') to substitute Nathaniel S. Putnam as Personal Representative of the Estate." (Dkt. 55.)
The second, brought on by proposed order to show cause, was also filed by the Estate and seeks
confirmation of the July 14, 2023 Final Award entered by the American Arbitration Association
in the proceeding captioned Brannan v. McKenzie et al., AAA Case No. 01-19-0001-9789. (Dkt.
507.)

       The Estate is no longer a party in this action. It has not been a party since October 4,
2021. (See Dkt. 432.)

        Before setting a briefing schedule for, or otherwise acting on, either of the two newly-
filed motions, the Court requests that the Estate address its authority to seek (and the Court's
authority to grant) either substitution of Putnam for Brannan or confirmation of the Award in the
present action.1 The Estate may submit a letter-brief concerning these issues no later than
August 23, 2023. Plaintiff Morgan Art Foundation Limited and defendant Michael McKenzie
may respond no later than August 30, 2023.

Dated: New York, New York
       August 16, 2023

                                            SO ORDERED.



                                            ________________________________
                                            BARBARA MOSES
                                            United States Magistrate Judge


1
  The Estate's memorandum in support of its confirmation application (Estate Mem.) (Dkt. 509)
argues generally that this Court "already has subject matter jurisdiction over the instant
proceeding," and that venue is appropriate in this District because the Award was made here.
Estate Mem. at 8. However, the Estate does not address its non-party status.
